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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                       Case No. CR03-5426 RBL
                              Plaintiff,
12                     v.                                ORDER
13     WALTER L. MARTIN,
14                            Defendant.
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17          THIS MATTER comes on before the above-entitled Court upon Defendant’s Status Report Regarding

18   Defendant’s Motion for Release of Property [Dkt. #170].

19          Having considered the entirety of the records and file herein, the Court rules as follows:

20          Defendant Walter L. Martin filed pro se a Letter/Motion for Release of Property [Dkt. #’s 158, 160].

21   The Court elicited the assistance of defendant’s counsel, Jerome Kuh, Esq. in order to facilitate Martin’s

22   attempt to regain his property. Mr. Kuh investigated the matter and reported to the Court that some of the

23   defendant’s property was forfeited in related state court proceedings, and other property was lost by Pierce

24   County officials. Mr. Kuh has informed Martin that his recourse for the lost property is with Pierce County.

25   Based upon this information, defendant now moves to withdraw defendant’s motion for release of property

26   filed with this Court [Dkt. #’s 158, 160]. That motion is GRANTED.

27          IT IS SO ORDERED.

28


     ORDER
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 1             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 2   pro se.
 3             Dated this 14th day of December, 2006.


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                                               RONALD B. LEIGHTON
 6                                             UNITED STATES DISTRICT JUDGE
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     ORDER
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